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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-191
                                              :
RYAN SCOTT ZINK,               :
                                              :
                       Defendant.             :


                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America hereby respectfully moves the Court for the entry of a

protective order governing the production of discovery by the parties in the above-captioned case.

The United States and counsel for Defendant have reached an agreement as to the proposed

protective order. Therefore, the United States is authorized to represent to the Court that Defendant

does not oppose this motion or the entry of the attached protective order.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                      By:               /s/
                                              Janani Iyengar
                                              Assistant United States Attorney
                                              NY State Bar No. 5225990
                                              555 4th Street, NW
                                              Washington, DC 20530
                                              Janani.iyengar@usdoj.gov
                                              202-252-7760
